. C Yo Cy

UNITED STATES DISTRICT COURT.
EASTERN DISTRICT OF vee

WISCONSIN COALITION FOR re
ADVOCACY, INC. Case No. 02-C-0871

Plaintiff,

VS.

BARRY BUSBY, Winnebago County Coroner,
in his official and individual capacities

Defendant.

Civil Procedures.» 2 GUC

to Rule 77 (d) Federal Rules of

Cony mailed to attorneys for
parties by the Court oursuant

STIPULATION AND ORDER FOR DISMISSAL

IT IS HEREBY STIPULATED AND AGREED by and between the parties in the

above-referenced lawsuit, by their respective counsel, that this action may be dismissed with

prejudice and without costs awarded to any party.

Dated:_tz [rz [ o> WISCONSIN COALITION FOR
ADVOCACY,
By: 3% Lowe
Attorney Todd Winsttom
Dated: 2 / 3 | 02 BARRY BUSBY, Winnebago County
Coroner, in his official and individual

rr hnd Lal

Attofney Charles HJ Bohl
Attomey Jennifer J. Kopp

Case 1:02-cv-00871-WCG Filed 01/02/04 Page 1of2 Document 54 BU
. Cc O

ORDER

UPON the foregoing Stipulation,

IT IS ORDERED that this matter is dismissed with prejudice and without costs awarded

to any party.

DATED this An/ day ot omnes 2003.
f

BY THE COURT:

The Honorable William C. Griesbach
United States District Court Judge

Case 1:02-cv-00871-WCG Filed 01/02/04 Page 2 of 2 Document 54
